           Case 2:17-cv-01363-MJP Document 13 Filed 10/03/17 Page 1 of 2



 1                                                              Judge: Hon. Marsha J. Pechman

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 8                        IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE WESTERN DISTRICT OF WASHINGTON
10                                         AT SEATTLE
11   JODIE PAVITT, JENNIFER                             Case No. 2:17-cv-01363-MJP
     MERTLICH, and SIMON KAUFMAN,
12
                                        Plaintiffs,
13                                                      DEFENDANT EQUIFAX INC.’S
                          v.                            CORPORATE DISCLOSURE
14                                                      STATEMENT
     EQUIFAX INC.,
15
                                      Defendant.
16
17          Defendant Equifax Inc. submits the following Corporate Disclosure Statement:
18          Equifax Inc. is publicly traded company on the NYSE. It has no parent corporation
19   or other corporation owning more than 10% of its stock.
20          DATED this 3rd day of October, 2017.
21                                      MARKOWITZ HERBOLD PC
22
                                        By:     s/ Jeffrey M. Edelson
23
                                                Jeffrey M. Edelson, WSBA #37361
24                                              Of Attorneys for Defendant Equifax Inc.
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25
26



     DEFENDANT EQUIFAX INC.’S CORPORATE DISCLOSURE                                   MARKOWITZ HERBOLD PC
                                                                                      SUITE 3000 PACWEST CENTER
     STATEMENT - 1                                                                       1211 SW FIFTH AVENUE
     2:17-cv-01363-MJP                                                               PORTLAND, OREGON 97204-3730
                                                                                              (503) 295-3085
          Case 2:17-cv-01363-MJP Document 13 Filed 10/03/17 Page 2 of 2



                       ATTORNEY CERTIFICATE OF SERVICE

        I hereby certify that on October 3, 2017, I have made service of the foregoing
DEFENDANT EQUIFAX INC.’S CORPORATE DISCLOSURE STATEMENT on the
parties listed below in the manner indicated:

Catherine Jura Fleming                               U.S. Mail
Bradley Jermone Moore                                Facsimile
Stritmatter Kessler Whelan Koehler Moore             Hand Delivery
Kahler                                               Overnight Courier
3600 15th Avenue W, Suite 300                        Email
Seattle, WA 98119                                    Electronically via USDC CM/ECF system

Ray Kahler                                           U.S. Mail
Stritmatter Kessler Whelan Withey Coluccio           Facsimile
413 8th Street                                       Hand Delivery
Hoquiam, WA 98550                                    Overnight Courier
                                                     Email
                                                     Electronically via USDC CM/ECF system


       DATED this 3rd day of October, 2017.

                                             s/ Jeffrey M. Edelson
                                             _______________________________________
                                             Jeffrey M. Edelson, WSBA #37361
                                             Attorney for Defendant Equifax Inc.

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CERTIFICATE OF SERVICE
